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      ORDERED in the Southern District of Florida on December 14, 2016.




                                                   Laurel M. Isicoff
                                                   Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                    UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION

                                                CASE NO. 14-10896-BKC-LMI

                                                CHAPTER 13

      IN RE:

      NADINE PHILISTIN,
            Debtor.
                               /
    ORDER SUSTAINING DEBTOR'S OBJECTION TO CLAIM NO. 5 FILED BY SALLIE MAE
                        INC., ON BEHALF OF USA FUNDS

               THIS    CAUSE       having   come        on   to   be      heard    at     9:00   a.m.,

      on December 6, 2016, on the Debtor's Objection to Claim No. 5 filed by Sallie Mae Inc.,

      on behalf of USA Funds, [ECF 168], and based upon the record, it is,

               ORDERED:

               1.     Claim No. 5 filed by Sallie Mae Inc., on behalf of USA Funds, as an




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unsecured claim, in the amount of $27,619.93, is SUSTAINED, as this claim is being

treated outside the Debtor's Plan.

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Submitted by:
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Copies furnished to:
Michael A. Frank, Esquire
Nancy Neidich, Trustee
Sallie Mae Inc., Attn: Bankruptcy Litigation
USA funds, Attn: Deposit Operations
Sallie Mae, Inc., Attn: Albert L. Lord, CEO

       Attorney, Michael A. Frank, is directed to mail a conformed copy of this Order to all
interested parties immediately upon receipt.




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